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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff/Respondent,                         §
                                                   §
v.                                                 §           Cr. No. C-05-346 (15)
                                                   §
FAVIAN CANTU ROSALEZ,                              §
     Defendant/Movant.                             §

            ORDER DENYING LETTER MOTION FOR REDUCED SENTENCE

        By Order entered September 12, 2007, this Court denied Defendant Favian Cantu Rosalez’s

letter motion for a reduced sentence or modification of his sentence. (See D.E. 523, denying D.E.

520.) On October 2, 2007, the Clerk received from Rosalez a virtually identical second letter motion,

in which he asks for the same relief, i.e., that he be permitted to serve the last ten months of his

sentence on house arrest instead of being in the custody of the Bureau of Prisons. (D.E. 524 at 1.) This

second letter actually contains an earlier date – June 30, 2007 (see D.E. 524 at 2) – than the letter

received first from the Clerk, which bore an August 8, 2007 date. (See D.E. 520 at 1.) Perhaps, then,

it was intended to be sent prior to his first motion.

        In any event, this latest filing asks for relief that the Court has already denied. It presents

nothing new that would alter the Court’s prior analysis. Accordingly, for the reasons set forth in the

Court’s September 12, 2007 Order, Rosalez’s letter motion for a reduced sentence (D.E. 524) is

DENIED.


        ORDERED this 4th day of October, 2007.



                                                ____________________________________
                                                            Janis Graham Jack
                                                        United States District Judge
